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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

M.A., an individual,              )
                                  )
        Plaintiff,                )                    CIVIL ACTION NO: 2:19-cv-00849
                                  )
v.                                )                    Judge Algenon L. Marbley
                                  )
                                  )                    Magistrate Judge Elizabeth Preston
WYNDHAM HOTELS AND RESORTS, INC., )                    Deavers
et al.,                           )
                                  )
        Defendants.               )


   PLAINTIFF’S CONSOLIDATED RESPONSE AND MEMORANDUM OF LAW
OPPOSING NATIONWIDE AND AMERICAN FAMILY’S MOTIONS TO INTERVENE

       COMES NOW the Plaintiff, M.A., by and through the undersigned counsel, and

respectfully requests that this Honorable Court enter an order denying the motions to intervene

filed by Nationwide Property & Casualty Insurance Company (“Nationwide P&C”) and

Nationwide Mutual Fire Insurance Company (“Nationwide Fire”) (collectively, “Nationwide”)

(ECF No. 65) and American Family Mutual Insurance Company (“American Family”) (ECF No.

64). The reasons in support of Plaintiff’s opposition are set forth in the attached memorandum of

law.

                                            Respectfully submitted,

                                            /s/ Steven C. Babin, Jr.
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           PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
       NATIONWIDE AND AMERICAN FAMILY’ S MOTIONS TO INTERVENE

        COMES NOW the Plaintiff, M.A. (the “Plaintiff” or “M.A.”), by and through the

undersigned counsel, and respectfully submits this Response in Opposition to the Motions to

Intervene filed by Nationwide and American Family (collectively, the “Movants”). In support of

her opposition to the Motions to Intervene, the Plaintiff provides the following law and

argument.

                                            INTRODUCTION

        The Movants ask to intervene in this matter, pursuant to Fed. R. Civ. P. 24(a) and (b), for

the purpose of seeking a declaratory judgment against Plaintiff and certain Defendants.1

Nationwide is defending Columbus Hospitality in the suit under its policy, albeit subject to a

reservation of rights as to defense and indemnity, and according to Nationwide’s motion, it has

rejected the tender to defend IHG. ECF No. 65 at 5. American Family is currently defending its

insureds, but does so under a reservation of rights because “its policies do not cover all or some

of the allegations in Plaintiff’s Complaint.” ECF No. 64 at 2. The Movants seek to bring

complaints for declaratory judgments to establish their respective duties to provide defense,

coverage, and indemnity. See ECF No. 64-1 (American Family’s proposed intervening

complaint); ECF No. 65-1 (Nationwide’s proposed intervening complaint). Neither Movant has

a right to intervene and permitting them to do so is not called for in this case because their

intervention would add delay and prejudice by inserting new legal issues, conflicts of interest,

and unnecessary parties.        Furthermore, permitting intervention by these third parties will


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        Movant American Family purports to be the liability insurer of Defendants Krrish Lodging, LLC (“Krrish”
or “Days Inn by Wyndham - Grove City Columbus South”) and Wyndham Hotels & Resorts, Inc. (“Wyndham”).
ECF No. 64 at 2. Movant Nationwide purports to be the liability insurer of Defendants Columbus Hospitality, LLC
(“Columbus Hospitality” or “Crowne Plaza Columbus - Downtown, an IHG Hotel”) and Inter-Continental Hotels
Corporation (“IHG”). ECF No. 65 at 5.


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introduce discovery, motion practice, and trial questions unrelated to the Plaintiff’s claims. In

sum, the Movants fail to meet their burden under Fed. R. Civ. P. 24(a) or (b), and both Motions

to Intervene should accordingly be denied.

         I.       BACKGROUND

         Plaintiff M.A.2 is a victim and survivor of sex trafficking within the meaning of the

Trafficking Victim Protection Reauthorization Act (the “TVPRA”), 18 U.S.C. § 1591 et seq. See

ECF No. 1, Compl. at ¶ 3. From approximately the Spring of 2014 to August 2015, she was

repeatedly coerced through fear, threat, and violence into commercial sex acts at each of the

Defendants’ hotel properties. Id. at ¶ 49-59. The hospitality industry, including the Movants’

insureds, continue to benefit financially in violation of the TVPRA by facilitating sex trafficking

through renting rooms to sex traffickers who the local hotels and their national brand

management companies knew or should have known were engaging in sex trafficking ventures.

Those engaged in the stream of commerce of the hospitality industry, such as Defendants Krrish,

Wyndham, Columbus Hospitality, and IHG, continue to fail to protect women and children who

are victims of human trafficking at hotel properties by failing to develop training to prevent

human trafficking, failing to implement training to prevent human trafficking, and failing to

conduct audits to confirm both that training has been implemented and that human trafficking is

being prevented at hotel properties. Id. at ¶¶ 53, 54.

         The TVPRA criminalizes sex trafficking of children and the sex trafficking of adults by

force, fraud, or coercion, and under § 1595, the statute also provides a private right of action for

victims of human trafficking against its beneficiaries. See 18 U.S.C. § 1595(a). The Plaintiff’s

Complaint alleges the Defendant hotels participated in a venture which they knew or should have


2
         Due to the sensitive nature of Plaintiff’s claims, the parties agreed and the Court entered an Order allowing
the Plaintiff to proceed pseudonymously throughout the course of the proceedings. ECF No. 60.


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known was a engaged in sex trafficking. See e.g., ECF No. 1 at ¶¶ 10-16; 62; 64; 73; 107.

Intentional conduct is not required to demonstrate a violation of the TVPRA.3

        II.      STANDARD OF REVIEW

        Rule 24 of the Federal Rules of Civil Procedure provides in pertinent part:

        (a)    Intervention of Right. On timely motion, the court must permit anyone to
        intervene who:
               (1)     is given an unconditional right to intervene by a federal statute; or
               (2)     claims an interest relating to the property or transaction that is the
                       subject of the action, and is so situated that disposing of the action
                       may as a practical matter impair or impede the movant’s ability to
                       protect its interest, unless existing parties adequately represent that
                       interest.
        (b)    Permissive Intervention.
               (1)     In General. On timely motion, the court may permit anyone to
                       intervene who:

                          (A)      is given a conditional right to intervene by a federal statute;
                                   or
                          (B)      has a claim or defense that shares with the main action a
                                   common question of law or fact.
                 …
                 (3)      Delay or Prejudice. In exercising its discretion, the court must
                          consider whether the intervention will unduly delay or prejudice
                          the adjudication of the original parties’ rights.

Fed. R. Civ. P. 24. The Rule further requires that the motion state the grounds for intervention,

and be accompanied by “a pleading that sets out the claim or defense for which intervention is

sought.” Fed. R. Civ. P. 24(c).

        The Sixth Circuit has set out four elements which the potential intervenor must meet in

order for intervention as of right to be appropriate:

        This Court has interpreted the language of the Rule to require an applicant to
        show that: 1) the application was timely filed; 2) the applicant possesses a
        substantial legal interest in the case; 3) the applicant’s ability to protect its interest
        will be impaired without intervention; and 4) the existing parties will not


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       Importantly, Count One of Plaintiff’s Complaint explicitly states a beneficiary theory of liability against
Defendant Hotels pursuant to § 1595 of the TVPRA, rather than a perpetrator theory of liability.


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        adequately represent the applicant’s interest. Grutter v. Bollinger, 188 F.3d 394,
        397-98 (6th Cir. 1999).

Blount-Hill v. Zelman, 636 F.3d 278, 283 (6th Cir. 2011).4                     “Each of these elements is

mandatory, and therefore failure to satisfy any one of the elements will defeat intervention under

the Rule.” Id. (citing United States v. Michigan, 424 F.3d 438, 443 (6th Cir. 2005)).

        With regard to permissive intervention pursuant to Fed. R. Civ. P. 24(b), “[t]hough the

district court operates within a ‘zone of discretion’ when deciding whether to allow intervention

under Rule 24(b), the district court nevertheless ‘must, except where the basis for the decision is

obvious in light of the record, provide enough of an explanation for its decision to enable [us] to

conduct meaningful review.’” League of Women Voters of Mich. v. Johnson, 902 F.3d 572, 577

(6th Cir. 2018) (citing Kirsch v. Dean, 733 F. App'x 268, 279 (6th Cir. 2018) (quoting, in turn,

Mich. State AFL-CIO v. Miller, 103 F.3d 1240, 1248 (6th Cir. 1997))). “So long as the motion

for intervention is timely and there is at least one common question of law or fact, the balancing

of undue delay, prejudice to the original parties, and any other relevant factors is reviewed for an

abuse of discretion.” Id. (citing Miller, 103 F.3d at 1248).

        III.    ARGUMENT

        The Movants fail to meet their burden for intervening either by right or permission. The

Movants are unable to show that they have a substantial legal interest in the civil case; that they

will be impaired, absent intervention, from protecting that interest; or that their interests will be

inadequately represented by parties already before the Court. Further, if permitted, the Movants’

intervention would cause undue delay in this matter and would prejudice Plaintiff.                           The

Movants’ participation in the underlying civil claim would do nothing more than complicate and


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          These elements apply to intervention as of right pursuant to Fed. R. Civ. P. 24(a)(2) -- that is, in the
absence of a federal statute which provides for intervention as of right under the circumstances. Neither Movant
argues it is entitled to such intervention, or that any such federal statute applies.


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interfere with the sensitive and complex issues in Plaintiff’s civil case, and intervention must be

denied to avoid prejudicial confusion of critical issues, facts, liability, and burdens in the

underlying case.

         A.       The Movants Have No Grounds To Intervene As Of Right.

         In seeking intervention as of right under Rule 24(a), the Sixth Circuit applies a four-part

test which requires the moving party to establish: (1) that the motion to intervene is timely; (2)

that a substantial legal interest is involved; (3) that its ability to protect its interests will be

impaired without intervention; and (4) the existing parties do not adequately represent its

interests. Blount-Hill, 636 F.3d at 283. Failure to satisfy any one of the elements will defeat

intervention. Id. The Movants fail to meet the second, third, and fourth elements.

                  1.       The Movants Have No Substantial Legal Interest In This Matter.

         As to the second element of the Sixth Circuit’s test for intervention as of right, the

“substantial legal interest” must be “direct.” Konica Minolta Bus. Sols. U.S.A., Inc. v. Lowery

Corp., No. 15-11254, 2018 U.S. Dist. LEXIS 81618, *10 (E.D. Mich. Apr. 23, 2018) (citing

Adams v. Ohio Univ., No. 2:17-CV-200, 2017 U.S. Dist. LEXIS 170674 (S.D. Ohio Oct. 16,

2017) and Cascade Nat. Gas Corp. v. El Paso Nat. Gas Co., 386 U.S. 129, 154 (1967)).

“Whether an insurer of an existing party has a direct interest in the litigation depends on if the

insurer admits that the claim at issue is covered.” Id. Put another way, the interest possessed by

an insurer seeking to intervene is contingent, not direct -- and thus, is also not “substantial.” Id.

(citing Travelers Indem. Co. v. Dingwell, 884 F.2d 629, 640 (1st Cir. 1989) (finding that the

insurer’s interest was contingent on the resolution of the coverage issue)).5


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          District Courts in the Sixth Circuit have followed the Fifth Circuit’s interpretation of the requirement of a
“direct” interest to intervene as of right:
          The interest required to intervene as of right is a “direct” interest, but an interest is not direct when
          it is contingent on the outcome of a subsequent lawsuit. An insurer who defends its insured under


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                           a.       Nationwide cannot establish a substantial legal interest.

         Nationwide cites to McWhorter v. Elsea, No. 2:00-CV-473, 2006 U.S. Dist. LEXIS

88273, 2006 WL 3526405 (S.D. Ohio December 6, 2006) as support for its substantial interest

argument. ECF No. 65 at 9. McWhorter is distinguishable and inapposite in this case for a

number of reasons, including (1) the case involved a class action, not a personal injury; (2) the

court had already ruled on the defendant insured’s summary judgment motion, clarifying the

claims allowed to proceed by plaintiffs; (3) the insurers seeking to intervene had defended the

insured for seven years; and (4) the case was heard prior to the Supreme Court of Ohio’s

clarification on collateral estoppel. The other cases cited by Nationwide are also not helpful to

its position as they involve cases where an injured plaintiff was seeking to intervene into a

separately filed declaratory action related only to coverage, not where an insurer was trying to

bring coverage issues and law into a civil claim for damages.6 Moreover, other cases cited by

Nationwide as having “facts similar to this one” were, in fact, decided before the Gehm decision7

was issued. ECF No. 65 at 9 (citing Kaylor v. Radde, No. 3:03CV7612, 2005 U.S. Dist. LEXIS

3483, 2005 WL 548927 (N.D. Ohio Mar. 7, 2005)8 and Marten v. Brown, No. 3:05CV7375,

2007 U.S. Dist. LEXIS 6593, 2007 WL 315770 (N.D. Ohio Jan. 30, 2007)). The Kaylor opinion


         a full reservation of rights provides a defense in the liability action, but reserves the right to
         contest coverage later. When an insurer defends under a full reservation of rights, their interest in
         the liability lawsuit is contingent upon the outcome of the coverage lawsuit. That interest, without
         more, is insufficient for intervention.
InfraSource Constr. Serv., LLC v. E&M Piping, LLC, No. 1:12CV0261, 2012 U.S. Dist. LEXIS 199244 * 13, 2012
WL 13026852 (N.D. Ohio Sept. 27, 2012) (quoting Ross v. Marshall, 456 F. 3d 442, 443 (5th Cir. 2006), cert.
denied, 549 U.S. 1166 (2007)) (emphasis added).
6
          In fact, St. Paul Fire v. Marine Insurance Co v. Summit – Warren Industries Co., 143 F.R.D. 129
(N.D.Ohio 1992) supports Plaintiff’s contention that absent a present, non-contingent interest, there is no protective
interest as required by Rule 24(a).
7
         Gehm v. Timberline Post & Frame, 861 N.E.2d 519, 523 (Ohio 2007), and its impact on the issues
presented by the instant motion are discussed further below, see infra. at Section III.A.2.
8
         The Radde case is incorrectly cited in Nationwide’s brief as 2005 WL 54927. ECF No. 65 at 9.


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addressed summary judgment as to the insurer of a law enforcement official who had been sued

in a lawsuit pursuant to 42 U.S.C. § 1983, and the opinion contains no discussion whatsoever of

the circumstances that had supported intervention by the insurer. Kaylor, 2005 U.S. Dist. LEXIS

3483. The Marten case was a declaratory judgment action filed by the insurer -- not a lawsuit

initiated by the injured party in which a defendant’s insurer sought to intervene. Marten, 2007

U.S. Dist. LEXIS 6593. Without some indication from the court of the circumstances warranting

intervention, these cases cannot support Nationwide’s contention that they represent precedents

which support Nationwide’s position in this matter.

       Nationwide has not accepted coverage for any of its insureds’ conduct. Instead, it has

issued a reservation of rights as to defense and indemnity. Nationwide’s intention is improper

and permitting intervention will place Nationwide in the control seat of Plaintiff’s lawsuit.

Intervention would require Plaintiff to argue legal theories, contract interpretation, burdens of

proof, and other issues related to Nationwide’s multiple commercial and umbrella policies,

arguments and issues that are completely irrelevant to Plaintiff’s civil claim.          To further

illustrate, Nationwide stated in its brief that it intends to argue every point of coverage, as

Plaintiff’s “claims are all subject to a variety of terms, conditions, exclusions and definitions.”

ECF No. 65 at 6.            Additionally, Nationwide’s proposed declaratory action addresses

management agreements, licensing agreements, and other duties of the various insureds under its

policies. ECF No. 65, Exhibit 1, at ¶¶ 25, 33, and 52.

                       b.       American Family cannot establish a substantial legal interest.

       American Family is similarly unable to establish any substantial legal interest that would

permit it to intervene in this matter. Like Nationwide, American Family’s defense of its insureds

is “under a reservation of rights because its policies do not cover all or some of the allegations in




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the Plaintiff’s Complaint.” ECF No. 64 at 2. In any event, American Family’s proposed

intervention is limited to its hope that the Court will “declare the rights and obligations of the

parties as it relates to American Family’s obligation to defend and indemnify” its insureds. Id.

       The Movants’ only real interest is how much they may be required to pay for defense and

coverage. See Siding & Insulation Co. v. Beachwood Hair Clinic, Inc., No. 1:11CV1074, 2012

U.S. Dist. LEXIS 25081 * 4-6, 2012 WL 645996 (N.D. Ohio Feb. 28, 2012) (holding the

insurer’s interest was not direct because it was limited to how much the insurer would have to

pay, which in turn was entirely contingent on future events -- i.e., the plaintiff’s success, and a

determination of the insurer’s duties under the policy). But such questions of coverage and

indemnity are collateral matters; they are not the kind of direct interest contemplated under Fed.

R. Civ. P. 24(a) and the law of this Circuit. The Motions should accordingly be denied.

               2.      The Movants’ Ability To Protect Their Interests Will Not Be
                       Impaired By Their Absence.

       The third element for evaluating a motion to intervene looks to whether the intervenor’s

“ability to protect its interests will be impaired without intervention.” Travelers, 884 F.2d at 638;

see also Fed. R. Civ. P. 24(a)(2). However, an insurer does not claim the kind of interest

contemplated under this element. Travelers, 884 F.2d at 638. This is because the assertion that

coverage might not exist is not properly considered part of the subject of an action which goes to

liability for the underlying contract, as opposed to the construction of the insurance policy itself.

Konica Minolta Bus. Sols, 2018 U.S. Dist. LEXIS 81619, *10 (relying on Travelers, 884 F.2d at

640, and finding the insurer’s interest is derivative for purposes of Rule 24(a)). To permit

intervention where coverage is in dispute would allow an insurer to “interfere with and in effect

control the defense.” Travelers, at 639.




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          The Movants do not need to intervene in this lawsuit in order to protect their interests;

 instead, they can pursue the conventional approach of seeking a declaratory judgment. Collateral

 estoppel will not prevent them from protecting their interests in this way, and indeed, doing so by

 a separate action is the preferred judicial policy in this venue. In Gehm v. Timberline Post &

 Frame, 861 N.E.2d 519, 523 (Ohio 2007), the Ohio Supreme Court clarified prior rulings and

 held that when an insurer has sought and been denied intervention, collateral estoppel will not

 prohibit future litigation with respect to the insurer’s coverage.9 The Movants can protect their

 respective interests by filing a separate declaratory judgment actions, which is “the better course

 of action[.]” Nieto v. Kapoor, 61 F. Supp. 2d 1191, 1195 (D.M.N. 1999).

          American Family contends that collateral estoppel “may apply to an insurer who denies

 defense and/or indemnity to a potential insured and who chooses not to intervene.” ECF No. 64

 at 4 (citing Mesa Underwriters Specialty Ins. Co. v. Secret Gentlemen’s Club, 751 Fed. App’x

 715, 729-30 (6th Cir. 2018)). In the Mesa case, the insurers were collaterally estopped from

 attacking factual and legal conclusions that were reached by a state trial court after the insurer,

 despite having notice and an opportunity to intervene, both (1) denied coverage outright and (2)

 made no attempt to intervene. Mesa, 751 Fed. App’x at 729. The facts of American Family’s

 situation are distinguishable because the company has not yet decided whether it will ultimately

 offer a defense to its insureds or not. ECF No. 64 at 4 (“American Family is affording a defense

 under a complete reservation of rights…”; id. at 2 (“At this time, American Family is defending

 [its insureds] in this case.”) (emphasis added). But the Howell and Gehm cases make clear that

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          In Gehm, the insurance carrier, similar to Nationwide in this case, sought to intervene in the plaintiff’s
 underlying action for construction damages against its insured (the defendant) for the purpose of submitting
 interrogatories to the jury. The insurance carrier in Gehm argued that unless it was allowed to intervene, the Ohio
 Supreme Court’s ruling in Howell would collaterally estop future litigation between the insurance carrier and its
 insured. The Court held that Howell was misconstrued and that when a party has sought and been denied
 intervention, collateral estoppel will not prohibit future litigation of similar issues. Gehm, 861 N.E. 2d at 523-524.
 In other words, Gehm and Howell are incorrectly cited as support by Nationwide and, in fact, support the denial of
 the Motions to Intervene under the circumstances presented here.


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 where an insurer has sought to intervene and been denied, collateral estoppel will not prevent it

 from separately seeking to protect its interests through an action for declaratory relief. Gehm,

 861 N.E. 2d at 519 (citing Howell and holding that “[w]hen a party has sought and been denied

 intervention, collateral estoppel will not prohibit future litigation of similar issues.”).

         The Movants seek to intervene and ultimately avoid defense and coverage for the

 Plaintiff’s TVPRA claims where the Plaintiff alleges, at least in part, the insureds “knew or

 should have known” that the Plaintiff was being trafficked for sex in their hotels. See e.g., ECF

 No. 1 at ¶¶ 10-16; 62; 64; 73; 107. The Movants’ contingent interests are insufficient to meet

 their burden to impose intervention as a matter of right and the motions to intervene should

 accordingly be denied.

         B.    The Movants Should Not Be Allowed Permissive Intervention

         Pursuant to Fed. R. Civ. P. 24(b), “on timely motion, the court may permit anyone to

 intervene who . . . has a claim or defense that shares with the main action a common question of

 law or fact.” However, when considering a motion to intervene, a court must consider whether

 the intervention will unduly delay or prejudice the adjudication of the rights of the original

 parties. See Fed. R. Civ. P. 24(b)(3). Once those two requirements are met, the district court

 must then balance undue delay and prejudice to the original parties. Frank Betz Associates, Inc.

 v. J.O. Clark Construction, L.L.C., 3:08CV00159, 2010 U.S. Dist. LEXIS 55193 * 3, 2010 WL

 2375871 (M.D. Tenn. Jun. 4, 2010) (quoting United States v. Michigan, 424 F.3d 438, 445 (6th

 Cir. 2005). Even assuming that “common questions of law or fact exist,” intervention should be

 denied when the insurer provides a defense under a reservation of rights as a conflict is created

 and the parties are unduly prejudiced by the interjection of new issues. Id. at 3; Krancevic v.

 McPherson, No. 84511, 2004 WL 2931012 at *2 (Ohio. Ct. App. Dec. 16, 2004).




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                1.     There Is No Common Question Of Law Or Fact

        Nationwide’s and American’s respective requests for a coverage determination under

 their separate policies does not mean that common questions of law or fact are presented

 between the well-pleaded claims filed by Plaintiff and the Movants’ proposed intervention. In

 fact, Nationwide has admitted no such commonality by reserving its right to dispute defense and

 coverage based on policy interpretation, definitions, and exclusions. ECF No. 65 at 5-7.

 Importantly, Nationwide has not accepted any portion of defense or coverage without reservation

 and does not side with Plaintiff or Insured Defendant Hotel in this case. Id. Similarly, American

 Family is currently defending its insureds, but does so under a reservation of rights because “its

 policies do not cover all or some of the allegations in Plaintiff’s Complaint.” ECF No. 64 at 2.

 The Plaintiff’s burden under the TVPRA does not require proof of an intentional act or

 “accident.” Issues related to coverage are contingent on the success of Plaintiff’s case, not

 whether or not discovery will bleed out actions and events that Nationwide would require fit

 squarely into its policy language before admitting coverage exists.

                2.     There Will Be Undue Delay And Prejudice Against Original Parties

        Adding a declaratory judgment action interjects “a number of new issues as to which

 discovery and motion practice would cause considerable delay in the proceedings between the

 existing parties.” Krancevic, 2004 WL 2931012 at *2. Courts have allowed intervention for the

 limited purpose of requesting that if the action is tried, written questions and interrogatories be

 submitted to the jury, but only after the insurer had previously filed a separate declaratory

 judgment.” Id. (emphasis added).

        There is no question that permitting the Movants to intervene will cause delay and

 substantial prejudice to Plaintiff. Adding a declaratory judgment action to an already sensitive




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 and complex case will necessarily interject wholly separate areas of law and fact, multiple

 additional parties, and policies and agreements which are irrelevant to the ultimate issue in

 Plaintiff’s TVPRA claims.     These unnecessary interjections would require substantial time,

 energy, and delay to dispute and discover. Essentially, the Plaintiff would be conflicted between

 proving up her TVPRA claim under one set of laws and coverage under other laws. Therefore,

 the Movants’ allegations of common fact and law, if permitted, will be highly prejudicial to

 Plaintiff and cause undue delays, and permissive intervention should be denied.

                                         CONCLUSION

        The Movants have failed to meet their burden to intervene as a matter of right, and have

 not shown that the alleged facts support permissive intervention.          As such, the Plaintiff

 respectfully requests that this Honorable Court deny the Movants’ requests to intervene and enter

 an Order denying the Motions filed by American Family (ECF No. 64) and Nationwide (ECF

 No. 65).

        Done this the 26th day of June 2019.

                                               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on June 26, 2019, I electronically filed the

 foregoing Response in Opposition to Nationwide’s Motion to Intervene with the Clerk of the

 Court using the CM/ECF system, which will send notification of such filing to all counsel of

 record.

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